Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 1 of 22 Page ID
                                 #:29039




                    Exhibit -H
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment




         86'&&HQWUDO'LVWULFWRI&DOLIRUQLD&DVH1RFY&-&(




                                                                  Evidence Packet P.0763
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 2 of 22 Page ID
                                 #:29040




                                                       Evidence Packet P.0764
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 3 of 22 Page ID
                                 #:29041




                                                       Evidence Packet P.0765
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 4 of 22 Page ID
                                 #:29042




                                                       Evidence Packet P.0766
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 5 of 22 Page ID
                                 #:29043




                                                       Evidence Packet P.0767
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 6 of 22 Page ID
                                 #:29044




                                                       Evidence Packet P.0768
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 7 of 22 Page ID
                                 #:29045




                                                       Evidence Packet P.0769
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 8 of 22 Page ID
                                 #:29046




                                                       Evidence Packet P.0770
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 9 of 22 Page ID
                                 #:29047




                                                       Evidence Packet P.0771
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 10 of 22 Page ID
                                  #:29048




                                                        Evidence Packet P.0772
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 11 of 22 Page ID
                                  #:29049




                                                        Evidence Packet P.0773
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 12 of 22 Page ID
                                  #:29050




                                                        Evidence Packet P.0774
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 13 of 22 Page ID
                                  #:29051




                                                        Evidence Packet P.0775
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 14 of 22 Page ID
                                  #:29052




                                                        Evidence Packet P.0776
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 15 of 22 Page ID
                                  #:29053




                                                        Evidence Packet P.0777
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 16 of 22 Page ID
                                  #:29054




                                                        Evidence Packet P.0778
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 17 of 22 Page ID
                                  #:29055




                                                        Evidence Packet P.0779
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 18 of 22 Page ID
                                  #:29056




                                                        Evidence Packet P.0780
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 19 of 22 Page ID
                                  #:29057




                                                        Evidence Packet P.0781
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 20 of 22 Page ID
                                  #:29058




                                                        Evidence Packet P.0782
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 21 of 22 Page ID
                                  #:29059




                                                        Evidence Packet P.0783
Case 2:15-cv-05346-CJC-E Document 438-52 Filed 10/09/20 Page 22 of 22 Page ID
                                  #:29060




                                                        Evidence Packet P.0784
